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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 16-20913-CR-WILLIAMS

  UNITED STATES OF AMERICA,

               Plaintiff,

  vs.

  ALI CHAMAS,

              Defendant.
  __________________________________/

        DEFENDANT’S REPLY TO GOVERNMENT RESPONSE (DE 23) TO
                DEFENDANT’S PSI OBJECTIONS (DE 21)

         Mr. Chamas, by and through undersigned counsel, respectfully submits his

  Reply to the United States’ Response (DE 23) to his previously-filed PSI objections

  (DE 21). He urges the Court to GRANT his objections for the reasons stated below

  and those stated in his original motion.

  Relevant Conduct

         As the Eleventh Circuit has recognized, “[w]hether two acts are part of the

  same course of conduct depends largely on how the relevant ‘course of conduct’ is

  defined.” United States v. Gomez, 16 F.3d 1354 (11th Cir. 1999). The term should

  not be defined so broadly as to include discrete events which “only happen to be

  similar in kind.” See United States v. Maxwell, 34 F.3d 1006, 1011 (11th Cir. 2006).

  See also United States v. Blanc, 146 F.3d 847, 852 (11th Cir. 1998) (“As this Court

  has previously held, section 1B1.3 ‘is designed to take account of a ‘pattern of


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  misconduct that can not readily be broken into discrete identifiable units that are

  meaningful for purposes of sentencing.’) (citations omitted).

        In Gomez, the Eleventh Circuit held that the sentencing court erred by

  including as relevant conduct a quantity of cocaine that the defendant sold to an

  unrelated individual “near the time” he began supplying cocaine to the conspiracy

  alleged in the indictment. See Gomez, 16 F.3d at 1355-56. The prior cocaine sale was

  admitted at trial to prove the defendant’s intent under Fed. R. Evid. 404(b), but it

  was “not part of the ‘same course of conduct’ as the conspiracy, and should not have

  been included in calculating [the defendant’s] base offense level.” Id. at 1356. The

  11th Circuit noted that “[t]he course of conduct on which the indictment and the

  trial focused was the distribution of cocaine through the Sparkling City Car Wash

  operation,” and held that “only sales that are related to the Sparkling City Car

  Wash operation should be considered part of the same course of conduct.” Id.

        Looking at the issue another way, the background commentary to
        U.S.S.G. § 1B1.3(a)(2) states that it is generally meant to apply to
        offenses that “involve a pattern of misconduct that cannot readily be
        broken into discrete, identifiable units.” When an act of misconduct can
        be easily distinguished from the charged offense, a separate charge is
        required. See United States v. Blanc, 146 F.3d 847, 852-54 (11th
        Cir.1998). In this case, the sale to Saldana is conceptually distinct from
        the Sparkling City Car Wash conspiracy, and easily could have been
        brought as a separate charge against Gomez. It was therefore
        inappropriate to use this sale in calculating the sentence for Gomez'
        conspiracy conviction.

  Id. at 1357.

        The Gomez Court found the case to be “virtually indistinguishable” from

  United States v. Maxwell, 34 F.3d 1006 (11th Cir. 2006), in which the Circuit Court


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  held that the district court clearly erred by increasing a defendant’s sentence based

  on a prior drug scheme. The defendant was convicted in the Maxwell of “conspiring

  to distribute dilaudid and of making a single sale of cocaine to Lundy . . . as a

  substitute for dilaudid.” Maxwell, 34 F.3d at 1011. The prior offense, “on the other

  hand, involved a cocaine distribution scheme.” Id. Other than the defendant, the

  two schemes did not involve any of the same parties, and the prior offense was

  temporally remote, as they took place more than a year a part. See id. The Court

  concluded that there were no “distinctive similarities” between the two schemes

  “[t]hat signal that they are part of a single course of conduct.’ Rather, the two

  offenses appear to be ‘isolated, unrelated events that happen only to be similar in

  kind.’” Id. (quoting United States v. Sykes, 7 F.3d 1331 7th Cir. 1993)).

        Likewise, the misconduct in this case can easily be broken down into

  “discrete, identifiable units.” See id.; U.S.S.G. § 1B1.3 (comment. background). The

  plan to send cocaine to Instabul, Turkey was a discrete, identifiable incident,

  unrelated to the defendant’s plan to import cocaine into the United States as

  charged in the indictment. The cocaine was going to different people, in different

  parts of the world, on different dates. Had the Turkey incident been a crime against

  the United States, these discrete incidents could have been charged as wholly

  separate offenses. As such, this Court should not include them as relevant conduct

  under the Guidelines. Furthermore, the Second Circuit has held that foreign crimes

  are excluded from relevant conduct under the Guidelines. United States v. Azeem,

  946 F.2d 13 (2d Cir. 1991).


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  Foreign Conduct

        Mr. Chamas maintains his objection and states that he is not a supporter of

  Hezbollah. In the first addendum to the PSI, probation states that Mr. Chamas told

  agents that when he sees Hezbollah with guns and rockets it makes him happy and

  proud to be Lebanese. These statements have been taken out of their proper

  context. When Agent Sanderson asked Mr. Chamas if he was happy when he sees

  them (referring to Hezbollah), Mr. Chamas makes clear that he feels happy

  specifically when Hezbollah is fighting against ISIS, not Israel. His exact response

  was “Against ISIS? Yes.” That part of the exchange was not included in the PSI.

  Mr. Chamas then further explained that his father was once abducted, held captive

  and beaten by Hezbollah members. Again, Mr. Chamas and his immediate family

  members are not affiliated with Hezbollah.

        This is a drug case. The insertion of Hezbollah is merely a red herring. The

  government has explicitly stated in its response to Mr. Chamas’s PSI objections that

  it is not seeking any terrorist enhancement in this case but argues that his

  uncorroborated, uncounseled and mischaracterized statements should be considered

  by this Court in determining Mr. Chamas’s sentence. However, there is no logical

  nexus between the aggravating conduct and the offense in this case. Political beliefs

  of extended family members are not an enumerated factor to be considered as a

  basis for an upward variance.

        To be clear, Mr. Chamas has never sent any drugs to the United States and

  there is absolutely no evidence the contrary. He pled guilty because he accepts


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  responsibility for agreeing to send two to three kilograms of cocaine to Texas before

  he was arrested on unrelated charges. The government is asking this Court to

  consider Mr. Chamas’s alleged foreign crimes at sentencing. While the Eleventh

  Circuit has not directly addressed this issue, it has held that 21 U.S.C. § 841 and §

  846 do not apply extraterritorially. United States v. Lopez Vanegas, 493 F.3d 1305

  (11th Cir. 20007). Thus, it follows that the government could not prosecute Mr.

  Chamas for the cocaine that was to be sent from Paraguay to Turkey because there

  is no evidence that those drugs would be possessed or distributed in the United

  States. See United States v. Baker, 609 F.2d 134, 139. (5th Cir. 1980). The

  governments of Paraguay and Turkey are tasked with the responsibility of

  prosecuting crimes against their own countries. In fact, Paraguay did exactly that.

  Mr. Chamas was in a Paraguayan prison already facing charges for his role in the

  attempted shipment of cocaine from Turkey to Paraguay when DEA agents first

  attempted to interview him. The agents then, with consent, reviewed Mr. Chamas’s

  phone and discovered the conversations about a plan to send cocaine to Texas and

  then began the extradition process for the conduct involving the United States. As

  far as undersigned counsel is aware, Mr. Chamas still has to face charges in

  Paraguay for attempting to send cocaine to Turkey once this case is concluded and

  he returns to Paraguay.




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        For all of the reasons stated herein, Mr. Chamas asks that this Court not

  include the alleged foreign conduct in the offense level calculation or as grounds for

  an upward variance.


                                           Respectfully submitted,

                                           MICHAEL CARUSO
                                           FEDERAL PUBLIC DEFENDER

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                             CERTIFICATE OF SERVICE


        I HEREBY certify that on December 18, 2017, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify that

  the foregoing document is being served this day on all counsel of record via

  transmission of Notices of Electronic Filing generated by CM/ECF or in some other

  authorized manner for those counsel or parties who are not authorized to receive

  electronically Notices of Electronic Filing.


                                           /s/Bunmi Lomax
                                            Bunmi Lomax
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